DocuSign Envelope ID: 3CC8E88C-BFFF-4C23-A6C2-AFFFC0C8F6C0
                    Case 4:20-cv-03664-YGR Document 696-1 Filed 08/18/22 Page 1 of 4




               1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
                  Diane M. Doolittle (CA Bar No. 142046) Andrew H. Schapiro (admitted pro hac vice)
               2 dianedoolittle@quinnemanuel.com         andrewschapiro@quinnemanuel.com
                                                         Teuta Fani (admitted pro hac vice)
               3 Sara Jenkins (CA Bar No. 230097)
                  sarajenkins@quinnemanuel.com           teutafani@quinnemanuel.com
               4 555 Twin Dolphin Drive, 5th Floor       191 N. Wacker Drive, Suite 2700
                  Redwood Shores, CA 94065               Chicago, IL 60606
               5 Telephone: (650) 801-5000               Telephone: (312) 705-7400
                  Facsimile: (650) 801-5100              Facsimile: (312) 705-7401
               6

               7    Stephen A. Broome (CA Bar No. 314605)              Josef Ansorge (admitted pro hac vice)
                    stephenbroome@quinnemanuel.com                     josefansorge@quinnemanuel.com
               8    Viola Trebicka (CA Bar No. 269526)                 Xi (“Tracy”) Gao (CA Bar No. 326266)
                    violatrebicka@quinnemanuel.com                     tracygao@quinnemanuel.com
               9    Crystal Nix-Hines (Bar No. 326971)                 Carl Spilly (admitted pro hac vice)
                    crystalnixhines@quinnemanuel.com                   carlspilly@quinnemanuel.com
             10
                    Alyssa G. Olson (CA Bar No. 305705)                1300 I Street NW, Suite 900
             11     alyolson@quinnemanuel.com                          Washington D.C., 20005
                    865 S. Figueroa Street, 10th Floor                 Telephone: (202) 538-8000
             12     Los Angeles, CA 90017                              Facsimile: (202) 538-8100
                    Telephone: (213) 443-3000
             13     Facsimile: (213) 443-3100
             14
                    Jomaire Crawford (admitted pro hac vice)           Jonathan Tse (CA Bar No. 305468)
             15     jomairecrawford@quinnemanuel.com                   jonathantse@quinnemanuel.com
                    51 Madison Avenue, 22nd Floor                      50 California Street, 22nd Floor
             16     New York, NY 10010                                 San Francisco, CA 94111
                    Telephone: (212) 849-7000                          Telephone: (415) 875-6600
             17
                    Facsimile: (212) 849-7100                          Facsimile: (415) 875-6700
             18
                   Counsel for Defendant Google LLC
             19
                                                  UNITED STATES DISTRICT COURT
             20
                                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
             21
                CHASOM BROWN, WILLIAM BYATT,                           Case No. 4:20-cv-03664-YGR-SVK
             22 JEREMY DAVIS, CHRISTOPHER
                CASTILLO, and MONIQUE TRUJILLO,                        SECOND SUPPLEMENTAL
             23 individually and on behalf of themselves and           DECLARATION OF MARTIN ŠRÁMEK
                all others similarly situated,                         IN RESPONSE TO MAY 20, 2022 ORDER
             24
                                Plaintiffs,                            Referral: Hon. Susan van Keulen, USMJ
             25
                        vs.
             26
                GOOGLE LLC,
             27
                                Defendant.
             28

                                                                                     Case No. 4:20-cv-03664-YGR-SVK
                                                             SECOND SUPPLEMENTAL DECLARATION OF MARTIN SRAMEK
DocuSign Envelope ID: 3CC8E88C-BFFF-4C23-A6C2-AFFFC0C8F6C0
                    Case 4:20-cv-03664-YGR Document 696-1 Filed 08/18/22 Page 2 of 4




              1             I, Martin Šrámek, declare as follows:

              2             1.     I am the Privacy Working Group lead for Chrome. I have been employed at Google

              3     since October 2014, and I have worked on issues related to Chrome privacy for the duration of my

              4     tenure. I make this declaration based on personal knowledge and information provided to me by

              5     Google colleagues and, if called to testify, I could and would competently testify to such facts.

              6             2.     I understand that the Court ordered that “Google must provide Plaintiffs with a

              7     representation in writing no later than May 31, 2022 that other than the logs identified thus far as

              8     containing Incognito-detection bits, no other such logs exist.” Dkt. 588 at 6.

              9             3.     Pursuant to the Court’s order, I submitted a declaration on May 31, 2022 identifying

             10        logs that contain the Incognito-detection bits. That declaration noted that “[t]he investigation

             11     for purposes of complying with the Court’s order began on May 23, 2022. The investigation is

             12     ongoing and should be completed within the next two weeks, by June 14, 2022,” and I “reserve[d]

             13     the right to supplement my attestation with any additional finding resulting from this continued

             14     investigation.” Dkt. 614-3 ¶ 5.

             15             4.     On June 14, 2022, I submitted a supplemental declaration describing the results of

             16     the three-week investigation and identifying         additional logs that included the Incognito-

             17     detection bits, including     logs auto-populated with the “maybe_chrome_incognito” bit and

             18             log with the “is_chrome_non_incognito_mode” bit. Dkt. 614-2.

             19             5.     The three-week investigation referenced in my May 31, 2022 declaration and June

             20     14, 2022 declaration entailed me supervising three Google employees conducting: (i) source code
             21     review; (ii) logs analysis; (iii) surveys of 125 teams identified as owners of Google source code;
             22     and (iv) follow-up interviews with 18 Google teams located across the globe. Before conducting
             23     this additional investigation, my team reviewed the scope of Google’s previous investigation of
             24     logs into which the Incognito-detection bits were written, including the data sources reviewed and
             25     the roster of employees interviewed.
             26             6.     Based on the investigation referenced in paragraph 5, other than the logs identified
             27     in my May 31, 2022 declaration and in my June 14, 2022 declaration, no other logs exist containing
             28     the Incognito-detection bits referenced in the May 20, 2022 Order.

                                                                     -1-             Case No. 4:20-cv-03664-YGR-SVK
                                                             SECOND SUPPLEMENTAL DECLARATION OF MARTIN SRAMEK
DocuSign Envelope ID: 3CC8E88C-BFFF-4C23-A6C2-AFFFC0C8F6C0
                    Case 4:20-cv-03664-YGR Document 696-1 Filed 08/18/22 Page 3 of 4




              1             7.     As explained in my first declaration (Dkt. 614-3), I could not provide the Court’s

              2     ordered attestation on May 31, 2022 because the investigation was not yet complete. I did not

              3     provide the Court’s ordered attestation on June 14, 2022 because I understood the Court’s order

              4     required me to attest that there are no other data sources at Google in which any field is used by

              5     any team to infer Incognito browser state in any form. To provide such a declaration, multiple

              6     months-long investigations would have been required. However, I understand now that the Court

              7     seeks affirmation only for the data sources with the following three fields: “is_chrome_incognito”;

              8     “is_chrome_non_incognito_mode”; and “maybe_chrome_incognito.” Dkt. 624 at 2; Dkt. 588 ¶ 13.

              9     Based on this understanding and the investigation I oversaw, I can therefore now provide the

             10     attestation set forth in paragraph 6, above.

             11             8.     I understand that Plaintiffs have alleged that additional logs identified in my June 14,

             12     2022 declaration show that Google joins the unauthenticated private browsing data at issue in this

             13     case with authenticated data.

             14             9.     It is Google’s policy to (i) only write data to authenticated log sources (also referred

             15     to as personal logs, or p-logs) if a user is signed into their Google account and (ii) not correlate

             16     authenticated (GAIA) and non-authenticated (e.g. Biscotti, Zwieback) logs data.

             17             10.    Out of the joined logs identified in my June 14, 2022 declaration, only the

             18                                                             contains data keyed to authenticated identifiers as

             19     well as data keyed to unauthenticated identifiers. I explained in my June 14, 2022 declaration:

             20                    The log                                                         contains joined information

             21                    from                                 ,                                           ,

             22                                              ,                                                  ,

             23                                                         ,                 and

             24                                                         , all of which were previously disclosed by Google.

             25    Dkt. 614-2 ¶ 13. I have confirmed with the Google engineer that wrote the code for, and
             26    implemented, the                                                          log, that all of the joins in this log
             27    are either from authenticated to authenticated log sources (                                                   ;
             28                                                  ;                                                          )   or

                                                                         -2-             Case No. 4:20-cv-03664-YGR-SVK
                                                                 SECOND SUPPLEMENTAL DECLARATION OF MARTIN SRAMEK
DocuSign Envelope ID: 3CC8E88C-BFFF-4C23-A6C2-AFFFC0C8F6C0
                    Case 4:20-cv-03664-YGR Document 696-1 Filed 08/18/22 Page 4 of 4




              1    from unauthenticated to unauthenticated log sources (                                         ;

              2                           ;                                             ),       but    none     are   from

              3    unauthenticated to authenticated log sources, or vice versa. The other              joined logs identified

              4    in my June 14, 2022 declaration are either keyed to authenticated identifiers or to unauthenticated

              5    identifiers: log                                            is not keyed to authenticated identifiers;

              6    logs                                                                      ,

              7                                                   ,                 and

              8                                                  are keyed to authenticated identifiers.

              9

             10            I declare under penalty of perjury of the laws of the United States of America that the

             11    foregoing is true and correct.

             12            Executed on the 18th day of August 2022 at Munich, Germany.

             13

             14
                                                                      Martin Šrámek
             15

             16

             17

             18

             19

             20

             21

             22

             23

             24

             25

             26

             27

             28

                                                                     -3-             Case No. 4:20-cv-03664-YGR-SVK
                                                             SECOND SUPPLEMENTAL DECLARATION OF MARTIN SRAMEK
